Case 2:04-cr-20245-.]PI\/| Document 26 Filed 07/26/05 Page 1 of 2 Page|D 35

IN THE UNITED sTATEs DISTRICT coURT 21
FoR THE wEsTERN DISTRICT oF TENNESSEE@S JuL 26 PH \‘

 

WESTERN DIVISION
M. GOU\.D
nn mYSWTq¥;T mg
UNITED STATES OF AMERICA,
PLAINTIFF ,
VS. NO. 2:04cr20245-MI

MI CHAEL MARTIN` ,

DEFEN'DANT .

 

ORDER FOR EXAMINATION PURSUANT TO
18 U.S.C. § 4241 AN'D § 4247(b) (C)

 

TI'IIS CAUSE having come before the Court upon the petition

of defendant, Michael Martin, for an evaluation of his mental
condition, pursuant to 18 U.S.C. § 4241 and § 4247(b) and (c); and
the Court having found good cause thereto, ORDERS the United
States Marshal to convey the defendant to a facility which will
provide an examination of the defendant pursuant to 18 U.S.C. §
4241 and § 4247(b) and (c), in order to determine his competence
to stand trial, and to return him to the jurisdiction of this

Court upon completion of the examination.

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DA U UNIT STATES DISTR.ICT COURT JUDGE
JON . MC C.ALLA

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with HuJe 55 and/or 32(b) FRCrP on 2£2' 125

 

   

UNITED sTATE ISTRIC COUR - WTERN D'S'TRCT oFTENNESSEE

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This notice confirms a copy of the document docketed as number 26 in
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Honorable J on McCalla
US DISTRICT COURT

